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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ART AKIANE LLC,

         Plaintiff,

 v.                                                   Case No. 19-cv-02952

 ART & SOULWORKS LLC,                                 Judge Edmond E. Chang
 CAROL CORNELIUSON,
 CARPENTREE, LLC, and VIRGINIA                        Mag. Judge Jeffrey Cole
 HOBSON,

         Defendants.

 ART & SOULWORKS LLC, and
 CAROLYNE CORNELIUSON,

         Defendants-Counter-Plaintiffs,

 v.

 ART AKIANE LLC,

         Plaintiff – Counter-Defendant,

 and

 AKIANE ART GALLERY, LLC, and
 AKIANE KRAMARIK,

         Counter-Defendants.

       ART AKIANE LLC’S REPLY IN SUPPORT OF ITS MOTIONS TO COMPEL

        Art Akiane LLC (“Art Akiane” or “Plaintiff”) moved to compel discovery from Defendant

Art & Soulworks, LLC (“Defendant ASW”) and Carolyne Corneliuson (“Defendant Corneliuson”)

(collectively “ASW”) (Dkts. 120; 122; 124; 126). The four separate motions might seem

“piecemeal,” but Art Akiane had just cause to move in that fashion. Those four filings came with

the close of discovery on the horizon, so Art Akiane filed its motions in late-March 2020 to ensure
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that there would be enough time for briefing and hearings prior to any depositions before the initial

end of fact discovery. As a maybe turned to a no on an issue, and as ASW terminated good faith

negotiations aimed at resolving an issue, Art Akiane moved for judicial intervention. As previously

noted, ASW’s stark no’s contrast with Art Akiane’s repeated position that it would revisit and

supplement its responses to ASW’s requests (Dkt. 157 at 2), which Art Akiane had in fact done,

mooting much of the motion to compel filed by ASW.

        Since Art Akiane’s four March 2020 filings, ASW has reversed several of their previous

no’s back to maybe’s; but their discovery responses remain deficient. As they put it, they have

decided to “st[and] firm on certain responses” to produce nothing or nothing further. (Dkt. 158

at 3.) ASW’s discovery deficiencies are by no means mere technical failures to turn over the

information to which Art Akiane is entitled—rather, these deficiencies strike at the heart of Art

Akiane’s ability to prosecute its meritorious claims.

                            General Factual and Legal Background

        Art Akiane brought this case because ASW sold counterfeit versions of Art Akiane’s

artwork, and willfully exceeded a licensing agreement for their own unlawful financial gain. ASW

also digitally manipulated the artwork to erase Akiane Kramarik’s (“Akiane”) signature on several

pieces. ASW even manipulated the artwork to falsely claim they owned the copyright to Akiane’s

work.

        ASW’s conduct was unlawful under several statutory and common law theories, but Art

Akiane will focus here on its Counts I and VI claims for infringement under the Copyright Act, 17

U.S.C. §§ 101, et seq. The Act provides Art Akiane with two broad damages calculations to

vindicate its rights: Art Akiane can pursue either actual damages and profits, or statutory damages.

        As for actual damages and profits, Art Akiane can seek “disgorg[ement of] any net profits

from the infringer.” McRoberts Software, Inc. v. Media 100, Inc., 329 F.3d 557, 568 (7th Cir. 2003)


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(emphasis added); see also Bucklew v. Hawkins, Ash, Baptie & Co., LLP, 329 F.3d 923, 932 (7th

Cir. 2003) (“Once the plaintiff proves [its] losses, or the defendant’s profits, from the defendant’s

sale of an infringing work, the burden shifts to the defendant to apportion the profits or losses

between the infringing and noninfringing features of the defendant’s work.”). This standard was

set both to make the plaintiff whole and to discourage theft of intellectual property. McRoberts

Software, 329 F.3d at 568 (“[E]ven if the owner never would have realized the profit made by the

infringer[,] by disgorging any net profits from the infringer, lost profit damages eliminate a major

incentive to steal the copyright instead of fairly negotiating for its use with the owner”). If an

infringer profits $100 from a theft but only has to pay $95 in damages, the infringer comes out

ahead and has a continuing incentive to steal. Thus, information leading to a full reckoning of “any

net profits” Defendant ASW or Defendant Corneliuson obtained as a result of their infringement

is a central component of this measure of Art Akiane’s damages.

        As for the statutory damages, the Copyright Act sets damages on a “for each violation”

basis. 17 U.S.C. § 1203(c) (for circumvented copyright management information, plaintiff entitled

to “award of statutory damages for each violation”). See GC2 Inc. v. Int’l Game Tech., IGT,

Doubledown Interactive LLC, 391 F. Supp. 3d 828, 838 (N.D. Ill. 2019) (noting the statute awards

damages per violation and it “does not only prohibit, as the defendants would have it, the first such

distribution; it forbids all of them”) (emphasis in original). See also Design Basics, LLC v. Drexel

Bldg. Supply, Inc., No. 13-C-560, 2016 WL 5794746, at *3 (E.D. Wis. Oct. 4, 2016), on

reconsideration in part, No. 13-C-560, 2017 WL 354258 (E.D. Wis. Jan. 24, 2017) (“[I]f the

defendant had sent 1,147 emails, that would result in 1,147 [DMCA] violations even if the emails

contained the same copyrighted photo”).1 A damages calculation that includes an “each violation”


1
 Unpublished cases have been submitted with this brief as Exhibit J and are presented in the order in
which they appear.


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or “per violation” basis clearly requires a full reckoning of the number of violations or

infringements.

       Both measures of damages apply equally to individual Defendant Corneliuson, who is

personally liable under copyright law because she willfully and knowingly and personally

participated in the infringing activities of her company. Desmond v. Chi. Boxed Beef Distribs.,

Inc., 921 F. Supp. 2d 872, 885-86 (N.D. Ill. 2013); Dangler v. Imperial Mach., Co., 11 F.2d 945,

947 (7th Cir. 1926); see also Asher Worldwide Enter. LLC v. Housewaresonly.com Inc., No. 12 C

568, 2013 WL 4516415, at *3 (N.D. Ill. Aug. 26, 2013) (collecting cases).

                             Defendants’ Two General Deficiencies

       Art Akiane served interrogatories and requests for production in January 2020. Before

discussing each specifically deficient request below, two aspects of ASW’s responses bear

emphasis. These two legal errors underlie most of ASW’s discovery deficiencies.

       First, ASW repeatedly argues it would be unduly burdensome to present a comprehensive

account of “every instance” of their infringing activities or their copyright management

information violations, because to do so would be “incredibly overbroad and in no way

proportional to the needs of this case.” (Dkt. 158 at 3.) ASW’s argument here is at odds with the

plain language of the Copyright Act. A statutory damages award stemming from “each violation”

clearly requires information about “each violation.” ASW’s response says they have generally

admitted to engaging in certain conduct at various times, like modifying Akiane’s works, and

suggests that this issue is therefore closed. (See, e.g., Dkt 158 at 4 (“[T]o the extent the issue is

whether ASW in fact modified Akiane’s work, it has admitted that it did.”).) But that is a

misunderstanding of copyright law; since statutory damages are awarded for “each violation—see,

e.g., GC2, 391 F. Supp. 3d at 838; 17 U.S.C. § 1203(c)—Art Akiane needs to know the number of

infringements and violations (ASW’s “First Error”).


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         Second, ASW suggests that a Licensing Agreement “and multiple oral agreements” gave

them the right to engage in the conduct alleged by Art Akiane. (Dkt. 158 at 3.) To be sure, ASW

has posited this notion as a defense; but ASW is acting as if they have already won partial summary

judgment on this issue. To the contrary, the question of whether “oral agreements” gave ASW the

right to engage in otherwise infringing conduct is, at the very minimum, hotly disputed. Indeed, to

date, ASW has provided little to no evidence of these supposed oral agreements. But in any event,

the remote and speculative possibility that ASW might succeed on their necessarily fact-sensitive

defense cannot serve to block Art Akiane’s discovery in the meantime (ASW’s “Second Error”).

                                      Specific Deficiencies

A.       Interrogatories to ASW [and Corneliuson]

         No. 1: Defendant ASW refuses to provide information regarding “all instances” that it

modified Art Akiane’s artwork, suggesting that a Licensing Agreement combined with unspecified

oral agreements permitted this conduct, and that its production of “representative examples” of

this conduct suffices. (Dkt. 158 at 4; Dkt. 120-2 at 3, Ex. C at 2-4.) Defendant ASW’s position

relies on its First and Second Errors noted above; since copyright law affords victims a “per

violation” remedy (or for “each violation”), Art Akiane is entitled to discover how many times this

unlawful conduct occurred. This information should be compelled.

         [The same analysis applies to Interrogatory No. 1 to Defendant Corneliuson. (Dkt. 158 at

9-10; see also Dkt. 122-2 at 3; Ex. F at 2-4.) For the same reasons, Defendant Corneliuson should

be compelled to provide this information. See Asher Worldwide, 2013 WL 4516415, at *3.]

         No. 2: Defendant ASW refuses to provide information regarding “all instances” that it

printed or direct another to print Art Akiane’s artwork. (Dkt. 158 at 5; Dkt. 120-2 at 3.) Defendant

ASW mentions a small range of documents purportedly showing some entities Defendant ASW

directed to print Akiane’s works—but Defendant ASW never suggests that this shows all instances


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of such conduct. Defendant ASW’s position relies on its First and Second Errors noted above;

since copyright law affords victims a “per violation” remedy (or for “each violation”), Art Akiane

is entitled to discover how many times this unlawful conduct occurred. This information should

be compelled.

       [The same analysis applies to Interrogatory No. 5 to Defendant Corneliuson. (Dkt. 158 at

10; see also Dkt. 122-2 at 6.) For the same reasons, Defendant Corneliuson should be compelled

to provide this information. See Asher Worldwide, 2013 WL 4516415, at *3.]

       No. 3: Defendant ASW refuses to provide information regarding “all instances” of

disseminating Akiane’s art over the internet, suggesting that its production of “examples of the

broad type of conduct at issue” suffices. (Dkt. 158 at 5; Dkt. 120-2 at 4; Ex. A at 2-3.) That position

relies on ASW’s First Error noted above; since copyright law affords victims a “per infringement”

remedy (or for “each violation”), Art Akiane is entitled to discover how many times this unlawful

conduct occurred. Indeed, Defendant ASW is in the best position to discover and produce this

information, considering it controlled and managed Art Akiane’s social media accounts and

marketing. For example, Defendant ASW has produced at least one document that seems to have

been distributed to its customers and subscribers given the embedded hyperlink to Defendant

ASW’s social media. (ASW016066.) This one-sheet provided a discount code and invited visitors

to download a free image from Defendant ASW’s website, yet Defendant ASW has not provided

any information as to how many persons received this notice, such as a listserv. Similarly,

Defendant ASW invited “everyone who visits Art & SoulWorks . . . to download a portrait of

Jesus, free of charge.” (Dkt. 69 at 2; Ex. I at 2 (highlighting added).) Defendant ASW has not

provided any information as to how many downloads occurred or pictures were disseminated.

Interestingly enough, neither of these documents were identified in Defendant ASW’s response




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(Dkt. 120-2 at 4) or subsequent supplementations, which firstly referenced only documents that

Plaintiff produced (Ex. A at 2-3) and secondly only cited to social media posts (Ex. B at 4-7).

Information responsive to this Interrogatory should be compelled.2

        [The same analysis applies to Interrogatory No. 4 to Defendant Corneliuson. (Dkt. 158 at

10; see also Dkt. 122-2 at 5-6; Ex. E at 2-4; Ex. F at 7-10.) For the same reasons, Defendant

Corneliuson should be compelled to provide this information. See Asher Worldwide, 2013 WL

4516415, at *3.]

        No. 4: Defendant ASW refuses to provide information regarding its own posting of

Akiane’s art on the internet. (Dkt. 158 at 5-6; Dkt. 120-2 at 4-5.) Contrary to Defendant ASW’s

claim, this does not duplicate Interrogatory No. 3. Interrogatory No. 3 focuses on inducing others

to download materials, while No. 4 focuses on Defendant ASW’s own posting of the art. Defendant

ASW position here also relies on its First Error noted above; since copyright law affords victims

a “per violation” remedy (or for “each violation”), Art Akiane is entitled to discover how many

times this unlawful conduct occurred. For example, in its initial response, Defendant ASW states

that “ASW routinely posted or displayed” images on its “Facebook page, on Amazon, . . . possibly

4 times on Twitter, a few times on Pinterest and potentially on other social media or internet sites

that ASW cannot currently recall.” (Dkt. 120-2 at 5.) Yet in its first supplementary response,

Defendant ASW only identifies documents Plaintiff produced (Ex. A at 4-5) and then only

supplements again with its Facebook and Twitter pages. (Ex. B at 7-10.) The lack of information



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  ASW also makes a confusing reference to discovery being a “two-way street” and complains that Art
Akiane has not provided information of Art Akiane disseminating its own art through the internet. Art
Akiane agrees that discovery is a two-way street—which is why Art Akiane has been supplementing its
discovery responses to ensure full compliance—but ASW’s argument is nevertheless misplaced. A
copyright plaintiff is entitled to “per infringement” damages, which is why ASW must provide this
information. There is no comparable statutory imposition on Art Akiane, who owns the rights, so ASW’s
request for this information is not part of any legitimate defense to Art Akiane’s copyright claim.


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regarding Defendant ASW’s posts to Pinterest are particularly troubling given the ease in which

that information is shared/saved across Pinterest user accounts. This information should be

compelled.

       [The same analysis applies to Interrogatory No. 4 to Defendant Corneliuson. (Dkt. 158 at

10; see also Dkt. 122-2 at 5-6; Ex. E at 2-4; Ex. F at 7-10.) For the same reasons, Defendant

Corneliuson should be compelled to provide this information. See Asher Worldwide, 2013 WL

4516415, at *3.]

       No. 5: Art Akiane legitimately seeks information regarding the purported “multiple oral

agreements” that Defendant ASW references throughout its response. (Dkt. 158 at 6.) Defendant

ASW only produced two email chains totaling less than a dozen pages, plus a paragraph in a

Declaration submitted by Defendant Corneliuson. Clearly, if there are agreements that Defendant

ASW contends authorized its otherwise unlawful conduct, those should be compelled.

       [The same analysis applies to Interrogatory No. 8 to Defendant Corneliuson. (Dkt. 158 at

11; see also Dkt. 122-2 at 8-9.) For the same reasons, Defendant Corneliuson should be compelled

to provide this information. See Asher Worldwide, 2013 WL 4516415, at *3.]

       No. 6: Defendant ASW says this duplicates Interrogatory No. 2 above (Dkt. 158 at 6), but

this request focuses on the identities of persons Defendant ASW engaged or retained to print

Akiane’s works. Insofar as Defendant ASW’s objection relies on the word “all” in the request, its

position here relies on its First Error noted above. (Dkt. 120-2 at 6.) Since copyright law affords

victims a “per infringement” remedy (or for “each violation”), Art Akiane is entitled to discover

the identities of people assisting all of Defendant ASW’s unlawful conduct, since those people

may be witnesses in this case. This information should be compelled.

       [The same analysis applies to Interrogatory No. 5 to Defendant Corneliuson. (Dkt. 158 at




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10; see also Dkt. 122-2 at 5.) For the same reasons, Defendant Corneliuson should be compelled

to provide this information. See Asher Worldwide, 2013 WL 4516415, at *3.]

        No. 7: Defendant ASW asserts that it agreed to supplement its earlier response but that Art

Akiane moved to compel regardless. (Dkt. 158 at 6.) That is false. Art Akiane moved to compel

only after Defendant ASW gave a flat “no” response to a request to supplement, which Art Akiane

documented in contemporaneously-taken notes. While Plaintiff acknowledges that following its

filing of its Motion to Compel (Dkt. 124), Defendant ASW’s position seems to have shifted to

“reserv[ing] the right to supplement” (Ex. A at 5-7, Ex. B at 10-12), this Court should still compel

Defendant ASW to provide a full answer so that Art Akiane can fully investigate Defendant

ASW’s damages claims. (Id.; see also Dkt 120-2 at 5-6.)

        [The same analysis applies to Interrogatory No. 9 to Defendant Corneliuson. (Dkt. 158 at

11; see also Dkt. 122-2 at 9-10; Ex. E at 7-9; Ex. F at 17-18.) For the same reasons, Defendant

Corneliuson should be compelled to provide this information. See Asher Worldwide, 2013 WL

4516415, at *3.]

        No. 9: Art Akiane does not believe Defendant ASW’s answer to this question is complete.

(Dkt. 158 at 7; Dkt. 120-2 at 8; Ex. A at 7-8.) While Defendant ASW lists several companies,

Defendant ASW also uses the generic catchall of “others” to purportedly identify additional third

parties.3 However, in order to maintain a claim of tortious interference, “a plaintiff must ‘[allege]

a business expectancy with a specific third party as well as an action by the defendant directed

towards that third party.’” Wells Fargo Bank, N.A. v. Worldwide Shrimp Co., No. 17 CV 4723,

2019 WL 4189480, at *8 (N.D. Ill. Sept. 34, 2019) (citation omitted) (holding the plaintiff must

specifically name or allege any third parties and cannot leave them unidentified). Moreover,


3
 ASW only identified the entities in its first set of supplemental responses, which were provided after ASW
represented it would not supplement its response and Plaintiff filed its Motion to Compel.


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Defendant ASW stated in its supplemental response that it had a “contract, interest, or business

expectancy” with at least all the named and unnamed third parties but identifies no such

documents. (Ex. A at 7-8.) A full answer should be compelled.

       No. 10 and 11: Art Akiane sought information regarding Defendant ASW’s stated defense

of “acquiescence” and “copyright misuse.” (Dkt. 158 at 7-8.) With respect to acquiescence,

Defendant ASW cited to its own filings in this matter, and responded with the names of Kramarik

family members who would have “acquiesced” – but with no description of the conduct that

allegedly constituted acquiescence. (Dkt. 120-2 at 8-9.) Indeed, only one of the filings even

mentions acquiescence in passing (Dkt. 82 at 23) while two others do not mention it at all (Dkt.

22; Dkt. 47), and the remaining filing only identifies it as an affirmative defense (Dkt. 141 at 63-

64). With respect to copyright misuse, Defendant ASW again cited to its own filings in this matter,

yet only one of the identified filings name copyright misuse in reference as affirmative defenses

(Dkt. 151 at 64) while the other three identified filings do not mention misuse at all (Dkt. 47; Dkt.

22; Dkt. 82). (Dkt. 120-2 at 9-10.)

       A full answer should be compelled, or if there is no further evidence supporting these

defenses, Defendant ASW should withdraw the defenses. See In re Dealer Mgmt. Sys. Antitrust

Lit., MDL No. 2817, 2019 WL 6498081, at *5 (N.D. Ill. Dec. 3, 2019) (“Contention interrogatories

are permitted by the Federal Rules of Civil Procedure, if other.”); Auto Meter Prods., Inc. v.

Maxima Techs. & Sys., LLC, No. 05 C 4587, 2006 WL 3253636, at *2 (N.D. Ill. Nov. 6, 2006)

(“When one party poses contention interrogatories after considerable discovery, and the opposing

party refuses to answer the interrogatories, courts routinely compel the resisting party to answer

the interrogatories”). Here, considerable discovery has already taken place, such that the Court




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should limit the responses or compel the requested information.4

        No. 12: Art Akiane sought information regarding ASW’s stated defense of unclean hands.

(Dkt. 158 at 8.) Once again, Defendant ASW cited to its own filings in this matter (Dkt. 120-2 at

10-11), and only provided general statements that lacked specificity. For example, Defendant

ASW references “email communications” without specific which, and states “[i]n further response,

ASW directs AA to the production ASW made as part of the MIDP process . . . .” (Dkt. 120-2 at

11.) But it does not identify any actual documents from that production and leaves Art Akiane to

guess which of those documents Defendant ASW intends to use to supports its defense. See FED.

R. CIV. P. 33(d)(1) (requiring “specifying the records . . . in sufficient detail”). Defendant ASW’s

Response brief only generally cites Defendant ASW’s response to Plaintiff’s Motion for a

Preliminary Injunction. A full answer should be compelled, or if there is no further evidence

supporting this defense, Defendant ASW should withdraw it. See Auto Meter Prods., 2006 WL

3253636, at *2 (“When one party poses contention interrogatories after considerable discovery,

and the opposing party refuses to answer the interrogatories, courts routinely compel the resisting

party to answer the interrogatories.”).

        No. 14: Defendant ASW refuses to provide information regarding “all instances” in which

it added text to Plaintiff’s art, instead asserting that the “representative examples” it produced are

sufficient. (Dkt. 158 at 14; Dkt. 120-2 at 16; Ex. B at 13-16.) ASW’s position speaks to its First

Error noted supra. Since copyright law affords victims a “per violation” remedy, Plaintiff is

entitled to discover how many times this unlawful conduct occurred. Therefore, this information


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  Plaintiff concedes that fact discovery has not yet closed, but these interrogatories were initially served on
January 14, 2020. Defendant ASW has had ample time to collect most, if not all, its documents by the time
it responded and certainly by the time it supplemented its response. As stated supra, these disputes only
matured into Motions to Compel after Defendant ASW flatly refused to supplement their responses; had
Defendant ASW indicated a willingness to supplement later after additional discovery, Plaintiff would not
have moved to compel on this Interrogatory.


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should be compelled.

        [The same analysis applies to Interrogatory No. 2 to Defendant Corneliuson. (Dkt. 158 at

10; see also Dkt. 122-2 at 3-4; Ex. F at 4-7.) For the same reasons, Defendant Corneliuson should

be compelled to provide this information. See Asher Worldwide, 2013 WL 4516415, at *3.]

        No. 15: Defendant ASW refuses to provide information regarding “all instances” of

removing, cropping, or altering text on Akiane’s art, instead stating that it has shown “different

ways” that this has periodically happened. (Dkt. 158 at 8-9; Dkt. 120-2 at 3.) Defendant ASW

attempts to explain away some of this conduct, blaming any editing on certain websites or social

media platforms, but this is not a dispute over passive versus active editing. (Dkt. 158 at 8-9.) That

position relies on ASW’s First Error noted above; since copyright law affords victims a “per

violation” remedy (or for “each violation”), Art Akiane is entitled to discover how many times this

unlawful conduct occurred.5 This information should be compelled.

        [The same analysis applies to Interrogatory No. 3 to Defendant Corneliuson. (Dkt. 158 at

10; see also Dkt. 122-2 at 4-5.) For the same reasons, Defendant Corneliuson should be compelled

to provide this information. See Asher Worldwide, 2013 WL 4516415, at *3.]

B.      RFPs to ASW [and to Corneliuson]

        No. 34 to ASW: Art Akiane sought documents relating to payments from Defendant ASW

to Defendant Corneliuson. Defendant ASW supplemented its initial response with 11 pages that

purportedly show “all payments from ASW to Corneliuson,” but this is highly suspect. (Dkt. 158

at 9; Ex. C at 3; Ex. D at 4.) Not only are those documents bereft of any identifying information,

but also no profit and loss statements dated prior to 2015 were produced. As such, this information

should be compelled.


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 Indeed, from review of the edited pictures identified thus far, it appears that an overwhelming amount
were from ASW’s “active editing.”


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       [The same analysis applies to Request No. 33 to Defendant Corneliuson. (Dkt. 158 at 11-

12; see also Dkt. 122-3 at 8; Ex. G at 3-4; Ex. H at 5.) For the same reasons, Defendant Corneliuson

should be compelled to provide this information. See Asher Worldwide, 2013 WL 4516415, at *3.]

       No. 32 to Corneliuson: Defendant Corneliuson argues that she should not have to produce

her tax returns because they also would have her husband’s information on them, and he “does not

consent.” (Dkt. 158 at 11; see also Dkt. 122-3 at 8.) As a threshold matter, the tax returns would

be protected by the Confidentiality Order. (Dkt. 85.) But at its core, copyright law gives Plaintiff

the right to track down and recover “any net profits” ASW made from their infringement,

McRoberts Software, 329 F.3d at 568, including the profits going directly to Ms. Corneliuson,

Asher Worldwide, 2013 WL 4516415, for purposes of disgorgement. See also Bucklew, 329 F.3d

at 932 (“Once the plaintiff proves [its] losses, or the defendant’s profits, from the defendant’s sale

of an infringing work, the burden shifts to the defendant to apportion the profits or losses between

the infringing and noninfringing features of the defendant’s work.”). Copyright law’s

disgorgement remedy necessarily gives Plaintiff the right to attempt to trace “any net profits” going

to Defendant ASW or Defendant Corneliuson, Defendant Corneliuson’s spouse’s disagreement

notwithstanding. Moreover, Defendant Corneliuson’s statement that Defendant ASW’s tax returns

have been produced is disingenuous, as Defendant ASW has not produced taxes for every year

since it was in business with Plaintiff. (Dkt. 158 at 11.) Thus, Defendant Corneliuson’s flat refusal

to comply with Request No. 32 is not proper, and documents responsive to that request should be

compelled.

       WHEREFORE, Plaintiff respectfully requests the Court

             1) grant its motions (Dkts. 120, 122, 124, 126) and enter an order compelling

                    a. Defendant ASW to provide full and complete responses to Plaintiff’s




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                       Interrogatory Nos. 1, 2, 3, 4, 5, 6, 7, 9, 10, 11, 12, 14, and 15 and Request

                       for Production No. 34; and

                 b. Defendant Corneliuson to provide full and complete responses to Plaintiff’s

                       Interrogatory Nos. 1, 2, 3, 4, 5, 8, and 9 and Request for Production Nos. 32

                       and 33;

          2) hold that ASW have waived all objections to the aforementioned discovery

              requests;

          3) order ASW to reimburse Plaintiff for its reasonable fees under Fed. R. Civ. P.

              37(a)(5)(A); and

          4) grant any other and further relief the Court deems proper.




Dated: June 26, 2020                             Respectfully submitted,

                                                 ART AKIANE LLC, AKIANE ART
                                                 GALLERY, LLC, AND AKIANE
                                                 KRAMARIK


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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2020, the foregoing was filed with the Clerk of Court via

CM/ECF, which provided notice of same to all parties who have made an appearance in this case.


                                                    /s/ Adam Wolek




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